                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE MIDDLE DISTRICT OF TENNESSEE
                          NORTHEASTERN DIVISION
____________________________________
                                    )
UNITED STATES OF AMERICA,           )
                                    )
      Plaintiff,                    )
                                    )   Civil Action No. 2:21-cv-00012
v.                                  )
                                    )   Chief Judge Waverly D. Crenshaw, Jr.
                                    )
CUMBERLAND COUNTY,                  )   JURY DEMAND
TENNESSEE,                          )
                                    )
      Defendant.                    )
____________________________________)

                   JOINT NOTICE OF ANTICIPATED SETTLEMENT

       Please take notice that Plaintiff United States of America and Defendant Cumberland

County, Tennessee (collectively, “the Parties”) have agreed to a settlement in principle in the

above-captioned action. On or before April 8, 2021, the Parties expect to file a joint motion

seeking approval and entry of a proposed Consent Decree, which will resolve the United States’

Complaint and provide for monetary and non-monetary relief, as well as the Court’s continued

jurisdiction during the term of the Consent Decree.


Date: March 8, 2021                          Respectfully submitted,




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